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             15
                                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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             17
                  RALPH COLEMAN, et al.,                                 )   No.: Civ S 90-0520 LKK-JFM P
             18                                                          )
                                 Plaintiffs,                             )   DECLARATION OF JON B. STREETER
             19                                                          )   IN SUPPORT OF PLAINTIFFS’
                          v.                                             )   MOTION FOR REASONABLE FEES
             20                                                          )   AND COSTS
                  ARNOLD SCHWARZENEGGER, et al.,                         )
             21                                                          )   Date: June 4, 2009
                                 Defendants                              )   Time: 11:00 a.m.
             22                                                          )   Place: Courtroom 26
                                                                             Judge: Honorable John F. Moulds
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                         DECLARATION OF JON B. STREETER IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL PAYMENT OF FEES AND COSTS
[292134-1]                                                    - NO.: CIV S 90-0520 LKK-JFM
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               1                  I, Jon B. Streeter, declare as follows:
               2           1.     I am a partner in the law firm of Keker & Van Nest, LLP, in San Francisco,
               3   California. I am an attorney licensed to practice law in California and before this Court.
               4   Each of the facts stated herein is true and correct within my personal knowledge, and if
               5   called as a witness, I would competently testify thereto.
               6           2.     I received a Bachelor of Arts degree in International Relations, with
               7   honors, from Stanford University in 1978. I received a Juris Doctor degree from the
               8   Boalt Hall School of Law, University of California, in 1981. From Fall 1982 through
               9   Summer 1983, I served as a law clerk to Chief Judge Harry T. Edwards of the United
           10      States Court of Appeals for the District of Columbia Circuit. I joined Keker & Van
           11      Nest in 1997 from Orrick, Herrington & Sutcliffe LLP, where I practiced for more than
           12      fifteen years, eight of them as a partner.
           13              3.     I currently serve as a Governor of the Sate Bar of California, representing
           14      District 4 (San Francisco and Marin Counties). I am past president of the Association of
           15      Business Trial Lawyers of Northern California (2005), the Bar Association of San
           16      Francisco (2004), and the Edward J. McFetridge Chapter of the American Inns of Court
           17      in San Francisco (2007). I served as Vice Chair of the California Commission on the
           18      Fair Administration of Justice (2007 – 2008). I have also served as Chair of the
           19      Northern District of California Lawyer Representatives to Ninth Circuit Court of
           20      Appeals (1998-1999), Director of the Bar Association of San Francisco (1996-1998),
           21      and Secretary of the Bar Association of San Francisco (2001).
           22              4.     Keker & Van Nest is a firm of approximately 65 attorneys. We have
           23      devoted our practice exclusively to complex civil and criminal litigation.
           24              5.     During my approximately 26 years of practice, I have served as an attorney
           25      in many complex cases. Broadly speaking, my specialization is in business litigation. I
           26      have handled cases in a wide range of areas, including intellectual property (primarily
           27      patent, trade secret and licensing matters), antitrust, securities fraud, commercial real
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                        DECLARATION OF JON B. STREETER IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL PAYMENT OF FEES AND COSTS,
[292134-                                                      NO.: CIV S 90-0520 LKK-JFM
1][288509-1]
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               1   estate, lender liability, insurance coverage, contractual indemnity, and executive
               2   compensation. I also have an extensive record of handling civil pro bono and criminal
               3   indigent defense matters. I handle most of my paying civil cases on an hourly basis, but
               4   occasionally when representing plaintiffs I have handled cases on a contingent or semi-
               5   contingent compensation basis.
               6           6.     Virtually every complex commercial case that I have handled for at least
               7   the last decade has involved electronic discovery. My firm has in-house professionals
               8   who are dedicated to overseeing electronic discovery, and nowadays, my understanding
               9   is that most of our competitor law firms have similar in-house capability. Particularly in
           10      large cases, our in-house electronic discovery professionals use the services of outside
           11      vendors to process and code material received in discovery so that it can be loaded into
           12      a database for use by paralegals and counsel preparing for depositions, law and motion
           13      practice and trial. We have also used hosting services which load large volumes of
           14      electronic discovery onto servers maintained by the hosting service. These hosting
           15      services can be thought of as electronic document “warehouses,” and they are especially
           16      useful in large multiparty cases where many parties will need access to the same
           17      materials during the course of the case. In smaller cases, we can and often do store the
           18      electronic data on our own servers. But due to the sheer volume of data received in
           19      electronic discovery in larger cases, it is not be economical for law firms or clients to
           20      host such large databases on a law-firm’s own servers. Rather than having a law firm
           21      purchase and maintain numerous large servers for electronic discovery, it is often more
           22      economical for firms and clients to rent hosting services from outside vendors, much as
           23      rented storage space for hard-copy document archives has been used historically.
           24              7.     The costs of electronic discovery processing and database hosting are
           25      regularly billed to clients as litigation costs. They are not considered part of law firm
           26      overhead. They are, instead, costs incurred for the benefit of clients, in order to perform
           27      absolutely necessary services in a modern litigation environment. It is not possible to
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                        DECLARATION OF JON B. STREETER IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL PAYMENT OF FEES AND COSTS,
[292134-                                                      NO.: CIV S 90-0520 LKK-JFM
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               1   make a categorical statement about my firm’s electronic discovery billing practices
               2   since some clients negotiate unique arrangements with us (for example, especially in the
               3   high technology sector some clients have the capacity to provide server capacity and
               4   some types of electronic discovery support, and they do not wish to be billed for
               5   services independently). For the most part, however, it is fair to say that my firm bills
               6   electronic discovery costs out to clients in all forums and markets in which we practice,
               7   including in San Francisco Bay Area state and federal courts, and in state and federal
               8   courts throughout California and the nation. In my experience, with the exception of
               9   special deals that are sometimes negotiated, private fee-paying clients regularly pay for
           10      and do not object to these electronic discovery processing and hosting costs.
           11              8.     It is the regular practice of my firm to bill non-contingent, fees-paying
           12      clients for the time of our in-house electronic discovery professionals.
           13              9.     I am familiar with law firm billing practices for a wide range of law firms
           14      because of my role as a partner at my own firm, and because of my frequent contact
           15      with other members of the bar in the leadership roles described above. Based on this
           16      experience, I conclude that it is the regular practice of law firms in all legal markets in
           17      California to bill clients for vendor costs of electronic discovery processing and hosting,
           18      and for the time of in-house professionals on electronic discovery projects.
           19              10.    Based on my experience and knowledge of billing practices in the San
           20      Francisco Bay area, I can state that it is the customary practice of local firms to bill
           21      clients for out-of-pocket expenses incurred in connection with handling litigation, such
           22      as expert witness fees, travel, photocopying, telephone charges, postage, on-line legal
           23      research such as on Westlaw and LEXIS, deposition costs, filing fees and the like.
           24              11.    My firm regularly bills non-contingent fees-paying clients for the services
           25      of paralegals. My firm’s paralegal rates for the year 2008 range from $160 per hour for
           26      junior paralegals to $250 per hour for senior paralegals.
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                        DECLARATION OF JON B. STREETER IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL PAYMENT OF FEES AND COSTS,
[292134-                                                      NO.: CIV S 90-0520 LKK-JFM
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              1
              2           I declare under penalty of perjury under the laws of the United States that the foregoing
              3   is true and correct and this declaration is executed this 3d day of April, 2009, in San Francisco,
              4   California.
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              7                                                        ________________________________
                                                                       JON B. STREETER
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                       DECLARATION OF JON B. STREETER IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL PAYMENT OF FEES AND COSTS,
[288509-1]                                                   NO.: CIV S 90-0520 LKK-JFM
